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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 21-cv-1776-MEH

U.S. SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,

v.

SKIHAWK CAPITAL PARTNERS, LLC,
THE CONVERGENCE GROUP, LLC,
CLEMENT M. BORKOWSKI,
SEAN A. HAWKINS, and
JOSEPH P. SCHIFF,

         Defendants.


 UNOPPOSED JOINT MOTION TO AMEND THE SCHEDULING ORDER [16, 28, 30]


         The parties respectfully request that the Court amend the Scheduling Order (ECF No. 16,

as modified in part by ECF Nos. 28, 30) to extend certain pre-trial case deadlines in this matter

by approximately six months. Good cause supports the requested modification, as explained

below.

         The Securities and Exchange Commission (“SEC”) initiated this enforcement action on

June 29, 2021. ECF No. 1. The SEC’s 249-paragraph Complaint includes ten claims for relief,

alleging violations of the securities laws by five defendants arising out of four separate sets of

actions/transactions dating back to 2016. See id.

         On September 13, 2021, Defendants filed a partial motion to dismiss. ECF. No. 19.

Defendants’ motion is fully briefed and remains pending. ECF Nos. 22, 23.
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       On March 30, 2022, after the case was reassigned due to Magistrate Judge Tafoya’s

retirement, the Court held a status conference. See ECF No. 33.

       Following the status conference, on April 1 and April 7, 2022, the SEC served written

discovery on each of the Defendants. Defendants responded to the SEC’s discovery requests on

June 13 and 14, 2022. See ECF Nos. 35, 38 (extending time to respond).

       The parties are in the process of conferring about Defendants’ responses in an attempt to

resolve any outstanding issues without the need for judicial intervention.

       The parties also continue to confer on the most efficient way to conduct discovery in light

of Defendants’ pending motion to dismiss, including the prospect that the motion will not be

resolved before the current discovery cut-off—meaning that discovery may close before

Defendants file an Answer admitting or denying the SEC’s allegations.1

       In addition to the above-described conferral efforts—and regardless of the results of those

conferrals—the parties agree that additional time will be necessary to complete fact discovery,

expert discovery, and dispositive-motion briefing in this case. As noted, the SEC’s Complaint

asserts ten claims against five defendants arising out of four separate sets of actions/transactions

dating back to 2016. See ECF No. 1. The discovery conducted to-date mirrors (and the

anticipated additional party and third-party discovery is expected to mirror) the breadth of the

case—involving multiple defendants and multiple, separate transactions over an extended period

of time. Significant additional time and resources will be necessary to complete fact discovery.



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 The parties initially agreed to address this concern by having Defendants file an Answer
without prejudice to the pending partial motion to dismiss. However, Defendants have expressed
concerns with this approach, and the parties continue to confer in an effort address those
concerns while allowing this matter to move forward expeditiously.

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In addition, the parties anticipate that expert testimony will be required to address some, if not

all, categories of claims in the case; the parties’ experts will need time to review and consider the

substantial amounts of material already generated and to-be generated in fact discovery before

issuing their reports. Finally, the requested extension will increase the likelihood that the motion

to dismiss may be resolved, and further settlement discussions conducted, before the parties

expend significant resources on, among other things, third-party discovery, expert witnesses, and

expert discovery.

       Accordingly, the parties agree that case-related deadlines should be extended by

approximately six months, as set forth in the table below:

 Task (Scheduling Order ¶)        Current deadline                  Proposed deadline
 Last day to serve                June 27, 2022                     December 30, 2022
 interrogatories, requests for
 production, and requests for
 admission (¶ 8(d))
 Affirmative expert witness       July 15, 2022                     January 20, 2023
 disclosures (¶ 9(d)(3))
 Rebuttal expert witness          August 26, 2022                   March 3, 2023
 disclosures (¶ 9(d)(4))
 Discovery cut off (¶ 9(b))       October 28, 2022                  May 5, 2023
 Dispositive motions (¶ 9(c))     November 22, 2022                 June 9, 2023
 Pre-trial conference              January 17, 2023                 On or after July 23, 2023, as
                                                                    set by the Court

       The requested extensions are necessary in order to allow the case to proceed efficiently

and with a complete record. No trial has been set in this matter, and the parties agree that the

proposed schedule is reasonable, efficient, and will not prejudice either party.

       Pursuant to D.C.COLO.LCivR 7.1(a), the undersigned counsel certify that they conferred

and agree upon the requested relief.


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       The parties previously sought and received two extensions of the deadline to serve

written discovery, ECF Nos. 28, 30, and one extension of certain other discovery deadlines, ECF

No. 30. See D.C.COLO.LCivR 6.1(b). A copy of this motion will be served contemporaneously

on the parties by their attorneys. See D.C.COLO.LCivR 6.1(c).

       WHEREFORE, for the reasons set forth herein, the parties respectfully request that the

Court grant this motion and issue an order modifying the Scheduling Order (ECF No. 16) as

requested above.

       Respectfully submitted this 24th day of June, 2022,

 /s/ Paul L. Vorndran                              s/ Ian J. Kellogg
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                                CERTIFICATE OF SERVICE

I certify that on June 24, 2022, I electronically filed the foregoing using the CM/ECF system
which will send notification of such filing to the email addresses of all counsel of record,
including the following:

pvorndran@joneskeller.com
bbengtson@joneskeller.com


                                                    s/ Ian J. Kellogg
                                                    U.S. Securities and Exchange Commission




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